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     KRISTY M. Kellogg, #271250
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     Sacramento, California 95814
 3
     Telephone: (916) 422-4022
 4
 5                       IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                )
 8   UNITED STATES OF AMERICA,                  )   Case No.: 2:16-cr-00025-TLN
 9             Plaintiff,                       )
                                                )   STIPULATION AND ORDER TO
10         v.                                   )   AMEND CONDITIONS OF PRETRIAL
                                                )   RELEASE
11   JORGE VEGA-MACIAS,                         )
              Defendant.                        )
12                                              )
13                                              )

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           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     conditions of pretrial release are amended. We are requesting that Mr. Vega-Macias be
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     shifted from Home Detention to Curfew due to his compliance record and to give him the
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     ability to do more things with and for his family. Pretrial Services and the AUSA are in
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     agreement with the amended condition and that the defendant has been in compliance for
19
     the past three months. The amended conditions of pretrial release have been attached and
20
     labeled Exhibit A. Justin Lee, Assistant United States Attorney, and Thomas A. Johnson,
21
     attorney for Jorge Vega-Macias, agree to the amendment of pretrial release conditions.
22
23
     IT IS SO STIPULATED.
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25
     Dated: September 23, 2016                             /s/ Thomas A. Johnson
26                                                         THOMAS A. JOHNSON
                                                           Attorney for Jorge Vega-Macias
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 1
 2                                                  PHILLIP A. TALBERT
                                                    Acting United States Attorney
 3
 4   Dated: September 23, 2016                      /s/ Thomas A. Johnson for
                                                    JUSTIN LEE
 5
                                                    Assistant U.S. Attorney
 6
 7                                     ORDER
 8
 9   IT IS SO ORDERED.
10
11   Dated: September 26, 2016
                                           _____________________________________
12                                         CAROLYN K. DELANEY
13                                         UNITED STATES MAGISTRATE JUDGE

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